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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                      §
In re:                                                §         Chapter 11
                                                      §
DRF LOGISTICS, LLC, et al.,                           §         Case No. 24-90447 (CML)
                                                      §
                                                      §         (Joint Administration Requested)
                 Debtors.1                            §         (Emergency Hearing Requested)

                      EMERGENCY MOTION OF DEBTORS
                       FOR INTERIM AND FINAL ORDERS
                        (I) AUTHORIZING DEBTORS TO
            (A) OBTAIN POSTPETITION FINANCING AND (B) USE CASH
      COLLATERAL, (II) GRANTING LIENS AND PROVIDING SUPERPRIORITY
    ADMINISTRATIVE EXPENSE CLAIMS, (III) MODIFYING AUTOMATIC STAY,
    (IV) SCHEDULING FINAL HEARING, AND (V) GRANTING RELATED RELIEF

     EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT
     LATER THAN 1:00 P.M. (CENTRAL TIME) ON AUGUST 9, 2024.

     IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
     EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT
     THE HEARING IF ONE IS SET, OR FILE A WRITTEN RESPONSE PRIOR TO THE
     DATE THAT RELIEF IS REQUESTED IN THE PRECEDING PARAGRAPH.
     OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
     GRANT THE RELIEF REQUESTED.

     A HEARING WILL BE CONDUCTED ON THIS MATTER ON AUGUST 9, 2024 AT
     1:00 P.M. (CENTRAL TIME).

     PARTICIPATION AT THE HEARING WILL ONLY BE PERMITTED BY AN AUDIO
     AND VIDEO CONNECTION.

     AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN
     FACILITY. YOU MAY ACCESS THE FACILITY AT 832-917-1510. ONCE
     CONNECTED, YOU WILL BE ASKED TO ENTER THE CONFERENCE ROOM
     NUMBER. JUDGE LOPEZ’S CONFERENCE ROOM NUMBER IS 590153. VIDEO
     COMMUNICATION WILL BE BY USE OF THE GOTOMEETING PLATFORM.
     CONNECT VIA THE FREE GOTOMEETING APPLICATION OR CLICK THE LINK
     ON JUDGE LOPEZ’S HOME PAGE. THE MEETING CODE IS “JUDGELOPEZ.”



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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: DRF Logistics, LLC (6861) and DRF, LLC (7236). The Debtors’ mailing address
    is 7171 Southwest Parkway, Bldg. 300, Suite 400, Austin, TX 78735.
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     CLICK THE SETTINGS ICON IN THE UPPER RIGHT CORNER AND ENTER YOUR
     NAME UNDER THE PERSONAL INFORMATION SETTING.

     HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF
     BOTH ELECTRONIC AND IN-PERSON HEARINGS.         TO MAKE YOUR
     APPEARANCE, CLICK THE “ELECTRONIC APPEARANCE” LINK ON JUDGE
     LOPEZ’S HOME PAGE. SELECT THE CASE NAME, COMPLETE THE REQUIRED
     FIELDS AND CLICK “SUBMIT” TO COMPLETE YOUR APPEARANCE.

               DRF Logistics, LLC and DRF, LLC in the above-captioned chapter 11 cases, as

debtors and debtors in possession (collectively, the “Debtors”), respectfully represent as follows

in support of this motion (the “Motion”):

                                     Preliminary Statement

               1.     The Debtors commenced these chapter 11 cases (the “Chapter 11 Cases”)

to implement a consensual, orderly wind down of their businesses memorialized in the RSA and

Plan (each as defined below). In connection with negotiating the RSA, the Debtors and Pitney

Bowes Inc. (“PBI” and together with its affiliates (as defined in the Bankruptcy Code), including

Pitney Bowes International Holdings, Inc. (“PBIH”), “Pitney Bowes”) reached an agreement on

the terms of a DIP Financing, which will provide the Debtors with funds necessary to finance the

Chapter 11 Cases. In particular, the DIP Financing will allow the Debtors to preserve continuity

and operation of their businesses, pay employees, fund administrative expenses, and satisfy

working capital and operational needs, each of which is necessary to preserve value of the Debtors’

assets during the orderly wind-down of Debtors’ business in the Chapter 11 Cases.

               2.     The DIP Financing is the product of extensive and arm’s-length

negotiations between the Debtors—under the supervision and direction of Debtor DRF Logistics,

LLC’s independent board of managers—and Pitney Bowes. In connection with the Debtors’

efforts to obtain postpetition financing, the Debtors, through their proposed financial advisor,

Portage Point Partners (“Portage Point”), solicited offers for DIP Financing from seven potential



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capital providers in addition to Pitney Bowes. Notwithstanding such outreach, only one offer for

DIP Financing was received—the offer received from Pitney Bowes.

               3.     The Debtors, with the assistance of their advisors, determined that the DIP

Financing described herein was the best (indeed, the only) financing option available. In addition

to being the only available financing, the DIP Financing is being provided as part of a broader

agreement with Pitney Bowes, as reflected in the RSA and other documents embodied therein,

while providing the Debtors with sufficient capital to fund the Chapter 11 Cases.

               4.     As discussed in the Chiu Declaration (as defined below), the Debtors

require incremental liquidity to finance the Chapter 11 Cases and ensure an orderly wind-down.

Access to the proceeds of the DIP Financing will provide the Debtors with this much-needed

liquidity and ensure they are adequately capitalized during the Chapter 11 Cases. Access to the

DIP Financing will also minimize disruption to the Debtors’ operations by assuring creditors and

other stakeholders that the Debtors have the financial wherewithal to implement the orderly wind-

down of their businesses during the pendency of the Chapter 11 Cases. The liquidity to be provided

to the Debtors under the DIP Financing will, therefore, preserve the value of the Debtors’ estates

for the benefit of all stakeholders in the Chapter 11 Cases. Accordingly, the DIP Financing is in

the best interests of the Debtors and their estates and should be approved.

               5.     Additional information regarding the DIP Financing, including the process

through which the Debtors solicited interest in providing financing and negotiated the terms of the

DIP Financing, is set forth in the Declaration of Lisa Lansio in Support of Emergency Motion of

Debtors for Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition

Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Superpriority

Administrative Expense Claims, (III) Modifying Automatic Stay, (IV) Scheduling Final Hearing,




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and (V) Granting Related Relief (the “Lansio Declaration”) and the Declaration of Robin Chiu

in Support of First Day Motions and Applications (the “Chiu Declaration”), filed

contemporaneously herewith and incorporated herein by reference.

                                          Background

               6.      On August 8, 2024 (the “Petition Date”), the Debtors each commenced

with the Court a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”). The Debtors are authorized to continue to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed

in these chapter 11 cases.

               7.      Contemporaneously herewith, the Debtors have filed a motion requesting

joint administration of their chapter 11 cases pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Bankruptcy Local Rules

for the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local

Rules”).

               8.      On August 8, 2024, the Debtors, Pitney Bowes International Holdings, Inc.

(“PBIH”), Pitney Bowes, Inc. (“PBI” and together with its affiliates (as defined in the Bankruptcy

Code) “Pitney Bowes”), and OPPS XI PTBW Holdings, L.P. and OPPS XII PTBW Holdings,

L.P. (“Oaktree”), entered into that certain Restructuring Support Agreement (as may be amended,

supplemented, or otherwise modified from time to time and including all exhibits thereto,

the “RSA”). Under the RSA, PBI, PBIH, and Oaktree have agreed, subject to the terms and

conditions of the RSA, to vote in favor of and support confirmation of the Debtors’ Joint Chapter

11 Plan of Liquidation (the “Plan”), filed contemporaneously herewith.




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                  9.       Additional information regarding the Debtors’ business and capital

structure and the circumstances leading to the commencement of these chapter 11 cases is set forth

in the Declaration of Eric Kaup in Support of the Debtors’ Chapter 11 Petitions and First Day

Relief, sworn to on the date hereof, and the Chiu Declaration, sworn to on the date hereof (together,

the “First Day Declarations”), which have been filed contemporaneously herewith and

incorporated herein by reference.2

                                                   Jurisdiction

                  10.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§ 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                Relief Requested

                  11.      By this Motion, pursuant to sections 105, 361, 362, 363, 364, 503, 506 and

507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014, and Bankruptcy

Local Rules 2002-1, 4001-1(b), 4002-1(i), and 9013-1, the Debtors request that the Court:

          (i)     authorize DRF Logistics, LLC (in such capacity, the “Borrower”) to obtain
                  postpetition financing (the “DIP Financing”) pursuant to a senior secured,
                  superpriority debtor-in-possession multi-draw term promissory note, consisting of
                  term loans in an aggregate principal amount of up to $47 million (the commitments
                  in respect thereof, the “DIP Commitments” and such loans, the “DIP Loans”)
                  from the DIP Lender (as defined below) of which $45 million will be available
                  immediately upon entry of the Interim Order (the “Initial Draw”), with the
                  remainder to be available subject to and upon entry of the Final Order, in each case
                  subject to the terms and conditions set forth in that certain Debtor In Possession
                  Secured Multi-Draw Term Promissory Note, attached hereto in substantially final
                  form as Exhibit 1 (as amended, restated, amended and restated, supplemented, or
                  otherwise modified from time to time, the “DIP Note”), by and among the
                  Borrower, DRF, LLC, as guarantor (“Guarantor” and together with the Borrower,
                  “Credit Parties”), and Pitney Bowes International Holdings, Inc. (the “DIP
                  Lender”);


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  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the First
Day Declarations.



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  (ii)   authorize the Credit Parties to execute, deliver and perform their obligations under
         the DIP Note and all other loan or security documentation related to the DIP Loans,
         including, as applicable, security agreements, pledge agreements, account control
         agreements, mortgages, deeds, and such other documents that may be necessary or
         reasonably required to implement the DIP Loans in accordance with the DIP Note
         and/or that may be reasonably requested by the DIP Lender in connection with the
         DIP Loans, in each case, as amended, restated, amended and restated,
         supplemented, or otherwise modified from time to time in accordance with the
         terms thereof and hereof (collectively, together with the DIP Note, the Interim
         Order, and, upon entry thereof, the Final Order, the “DIP Documents”);

 (iii)   authorize the Credit Parties to incur loans, advances, extensions of credit, financial
         accommodations, reimbursement obligations, interest, fees and premiums, costs,
         expenses and other liabilities, and all other obligations (including indemnities and
         similar obligations, whether contingent or absolute) due or payable under the DIP
         Documents (collectively, the “DIP Obligations”), and to perform such other and
         further acts as may be necessary, desirable or appropriate in connection therewith;

 (iv)    subject and subordinate to the Carve-Out (as defined below), grant to the DIP
         Lender allowed superpriority administrative expense claims pursuant to section
         364(c)(1) of the Bankruptcy Code in respect of all DIP Obligations;

  (v)    subject and subordinate to the Carve-Out, grant to the DIP Lender valid,
         enforceable, non-avoidable and automatically perfected liens pursuant to sections
         364(c)(2) and 364(c)(3) of the Bankruptcy Code on all DIP Collateral (as defined
         herein), on the terms described herein, including, subject only to and effective upon
         entry of the Final Order, the proceeds of any avoidance actions, which security
         interests and liens shall be subject to the priorities set forth herein; provided,
         however, that the DIP Lender shall use commercially reasonable efforts to first
         obtain recoveries from DIP Collateral other than the proceeds of avoidance actions;

 (vi)    authorize the DIP Lender to take all commercially reasonable actions to implement
         and effectuate the terms of the Interim Order;

(vii)    subject to entry of the Final Order granting such relief, waive the Debtors’ right to
         surcharge the DIP Collateral pursuant to section 506(c) of the Bankruptcy Code;

(viii)   subject to entry of the Final Order granting such relief, waive the equitable doctrine
         of “marshaling” and other similar doctrines with respect to the DIP Collateral for
         the benefit of any party other than the DIP Lender;

 (ix)    authorize the Debtors to use proceeds of the DIP Loans and Cash Collateral solely
         in accordance with the Interim Order and the DIP Documents;

  (x)    authorize the Debtors to pay the principal, interest, fees, expenses, reimbursements,
         and other amounts payable under the DIP Documents as such become earned, due
         and payable to the extent provided in, and in accordance with, the DIP Documents;



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          (xi)     vacate and modify the automatic stay under section 362 of the Bankruptcy Code
                   (the “Automatic Stay”) to the extent necessary to permit the Debtors and the DIP
                   Lender to implement and effectuate the terms and provisions of the Interim Order,
                   the DIP Documents and, upon entry, the Final Order, to deliver any notices of
                   default or termination described below and as further set forth herein;

          (xii)    waiving any applicable stay (including under Bankruptcy Rule 6004) and providing
                   for immediate effectiveness of the Interim Order and, upon entry, the Final Order;
                   and

         (xiii)    scheduling a final hearing (the “Final Hearing”) to consider final approval of the
                   DIP Financing and use of Cash Collateral pursuant to a proposed final order (the
                   “Final Order”), as set forth in this Motion and the DIP Documents filed with this
                   Court.

                   12.      A proposed form of order granting the relief requested herein on an interim

basis is annexed hereto as Exhibit A (the “Interim Order”). Prior to a final hearing on the relief

requested herein, the Debtors will file a proposed Final Order (and together with the Interim Order,

the “Orders”).

                                    Summary of Terms of DIP Financing

                   13.      In accordance with Bankruptcy Rules 4001(b)–(d) and the Procedures for

Complex Chapter 11 Bankruptcy Cases (the “Complex Case Procedures”), as incorporated

Bankruptcy Local Rule 1075, the below chart summarizes the significant terms of the Interim

Order and the DIP Note.3

                                       MATERIAL TERMS                                                    Location
    Borrower
                                                                                                      DIP Note,
    Bankruptcy Rule           DRF Logistics, LLC
                                                                                                      Preamble
    4001(c)(1)(B)
    Guarantor
                                                                                                      DIP Note,
    Bankruptcy Rule           DRF, LLC
                                                                                                      Preamble
    4001(c)(1)(B)
    DIP Lender
                                                                                                      DIP Note,
    Bankruptcy Rule           Pitney Bowes International Holdings, Inc.
                                                                                                      Preamble
    4001(c)(1)(B)


3
      The following summary of the terms of the DIP Financing is subject entirely to the express terms of the DIP Note.
      If there are any inconsistencies between the summary below and the DIP Note, then the DIP Note shall control.



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                               MATERIAL TERMS                                                    Location
DIP Financing and     The DIP Lender agrees to provide senior secured, superpriority DIP
Borrowing Limits      Loans to Borrower from time to time pursuant to a multi-draw debtor-     DIP Note,
Bankruptcy Rule       in-possession term promissory note, in an aggregate principal amount     § 1(a)
4001(c)(1)(B)         of up to $47 million.
                      Use of proceeds of the DIP Loans shall be subject to an initial agreed
                      budget, which shall be in form and substance acceptable to, and
                      subject to written approval of, the DIP Lender (the “Approved
                      Budget”), consisting of forecasted receipts and disbursements of the
                      Borrower on a consolidated basis for the 13 weeks commencing on
                      the Petition Date.
Budget
                      Beginning on September 5, 2024, and every fourth Thursday                DIP Note,
Bankruptcy Rule                                                                                § 1(e), 14(h)
                      thereafter, the Borrower shall deliver to the DIP Lender a revised
4001(c)(1)(B)
                      proposed budget, which shall be in form and substance acceptable to,
                      and subject to written approval of, the DIP Lender. Upon written
                      approval of such revised proposed budget by the DIP Lender, in its
                      sole discretion, such proposed budget shall modify, replace,
                      supplement, or supersede, as applicable, all prior budgets for the
                      periods covered thereby and become the Approved Budget.

Interest Rate         Subject to the terms of the DIP Note, the DIP Loans or any portion
                      thereof shall bear interest on the principal amount thereof from time    DIP Note,
Bankruptcy Rule       to time outstanding, from the date of the DIP Loans until repaid, at a   § 4(a)
4001(c)(1)(B)         rate per annum equal to 10.00%, which shall be payable in kind.
                      The Debtors shall pay the DIP Lender:
                              an upfront fee of 2.00% of the DIP Commitment, which shall
Expenses and Fees              be fully earned and non-refundable upon entry of an interim
                                                                                               DIP Note,
Bankruptcy Rule                DIP order, and payable in kind; and
                                                                                               § 4(d), 8(b)
4001(c)(1)(B)
                              a fee of 1.00% of the unused DIP Commitment during the
                               preceding month, shall accrue and payable in kind.

Maturity Date;
Duration for Use of
DIP Collateral        Maturity Date: November 29, 2024 (as may be extended by mutual
                                                                                               DIP Note, § 3
                      agreement between the Borrower and DIP Lender)
Bankruptcy Rule
4001(c)(1)(B)
                      Optional Prepayments: Subject to the terms and conditions of the
                      Orders the Borrower shall have the right at any time and from time to
                      time to prepay the DIP Loans under the DIP Note in whole or in part
                      (without premium or penalty) upon two (2) Business Days’ written
                      notice to the DIP Lender by 1:00 p.m. New York City time (or such
                      shorter time as the DIP Lender may agree); provided that each such
Prepayments           prepayment shall be in a minimum amount of $100,000. Notice of
                      prepayment having been given as aforesaid, the principal amount          DIP Note, § 6,
Bankruptcy Rule                                                                                7(a)-(e).
                      specified in such notice shall become due and payable on the
4001(c)(1)(B)
                      prepayment date specified therein in the aggregate original principal
                      amount specified therein unless such repayment is conditioned on the
                      receipt of any third party funds or the consummation of certain
                      transactions which are not received or consummated. Any
                      prepayment or repayment hereunder shall be accompanied by interest
                      on the principal amount of the DIP Note being prepaid or repaid to
                      the date of prepayment or repayment. Any prepayment made shall be


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                                   MATERIAL TERMS                                                     Location
                        applied (a) first to the DIP Loans until paid in full and (b) second, to
                        any remaining DIP Obligations as the DIP Lender shall determine in
                        its sole discretion.

                        Mandatory Prepayments: In each case, subject to the terms and
                        conditions of the Orders and the Approved Budget, upon not less than
                        one (1) Business Day prior written notice by the Borrower to the DIP
                        Lender by 1:00 p.m. New York City time:
                                No later than two (2) Business Days upon receipt by any
                                 Credit Party of cash proceeds of any debt securities or other
                                 indebtedness not permitted under the DIP Note, the
                                 Borrower shall prepay the outstanding principal amount of
                                 the DIP Loans in an amount equal to all such proceeds, net
                                 of underwriting discounts and commissions and other
                                 reasonable costs or fees paid to non-affiliates in connection
                                 therewith.
                                Commencing on October 18, 2024, the Borrower shall
                                 prepay the DIP Loans within 4 Business Days’ of such date
                                 if the Borrower’s cash on hand as of such date exceeded the
                                 amount of remaining disbursements set forth in the
                                 Approved Budget plus $5,000,000.

                                Prepayments shall be applied (i) first to the DIP Loans until
                                 paid in full, (ii) second, to any remaining DIP Obligations as
                                 the DIP Lender shall determine in its sole discretion and (iii)
                                 third, any excess remaining to the Borrower.
                                DIP Lender may elect prior to any required prepayment
                                 required to decline all or any portion of the prepayment.
                        Usual and customary for financings of this type, including, among
                        other things:
                                the Petition Date shall have occurred;
Conditions to Closing
                                the Court shall have entered the Interim Order, which shall        DIP Note, § 2
Bankruptcy Rule
                                 not have been vacated, reversed, modified, amended, or
4001(c)(1)(B)
                                 stayed; and
                                delivery of the Initial Budget (as defined in the DIP Note),
                                 attached hereto as Exhibit B.
Superpriority           Subject to the Carve-Out, the DIP Lender is granted, pursuant to
Expense Claims          Bankruptcy Code sections 364(c)(1), 503, and 507, an allowed                Interim Order,
Bankruptcy Rule         superpriority administrative expense claim in each of the Chapter 11        ¶8
4001(c)(1)(B)(i)        Cases for all DIP Obligations.
                        Subject and subordinate to the Carve-Out and the Permitted Liens (as
                        defined below), if any, to secure the DIP Obligations, the DIP Lender
Collateral and          is granted, without the necessity of the execution, recordation or filing
Priority                by the Borrower of any mortgages, security agreements, account              Interim Order,
Bankruptcy Rule         control agreements, pledge agreements, financing statements,                ¶7
4001(c)(1)(B)(i),       intellectual property filing or other similar documents, any notation
4001(c)(1)(B)(ii)       of certificates of title for titled goods or other similar documents,
                        instruments, deeds, charges or certificates, or the possession or
                        control by the DIP Lender of, or over, any collateral, the following



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            security interests and liens (all such security interests and liens
            granted to the DIP Lender pursuant to the Orders and the DIP
            Documents, the “DIP Liens” and the property subject to the DIP
            Liens, the “DIP Collateral”):
            (a) Section 364(c)(2) DIP Liens. Pursuant to section 364(c)(2) of the
                Bankruptcy Code, a valid, binding, continuing, enforceable, non-
                avoidable, and automatically and fully-perfected first priority
                senior security interest (subject and subordinate only to the
                Carve-Out) in, and lien upon, all tangible and intangible
                prepetition and postpetition property of each of the Credit Parties
                and their estates, whether existing on the Petition Date or
                thereafter acquired, that, on or as of the Petition Date is not
                subject to valid, perfected, and non-avoidable liens (or perfected
                after the Petition Date to the extent permitted by section 546(b)
                of the Bankruptcy Code), including any unencumbered cash of
                the Debtors and any investment of such cash, accounts,
                inventory, goods, contract rights, instruments, documents, chattel
                paper, patents, trademarks, copyrights and licenses therefor,
                accounts receivable, receivables and receivables records, general
                intangibles, payment intangibles, tax or other refunds, insurance
                proceeds, letters of credit, intercompany claims, contracts, owned
                real estate, real property leaseholds, fixtures, deposit accounts,
                commercial tort claims, securities accounts, investment property,
                letter-of-credit rights, supporting obligations, vehicles, plants,
                machinery and equipment, real property, leases (and proceeds
                from the disposition thereof), all of the issued and outstanding
                capital stock of Debtor DRF, LLC and a portion of the issued and
                outstanding capital stock of non-Debtor Pitney Bowes Global
                Ecommerce (APAC) Co. Ltd. (as set forth in the DIP
                Documents), beneficial interests in any trust, money, goodwill,
                causes of action, including, upon entry of the Final Order, the
                proceeds of avoidance actions, and all cash and non-cash
                proceeds, rents, products, substitutions, accessions, and profits of
                any of the collateral described above, whether in existence on the
                Petition Date or thereafter created, acquired or arising and
                wherever located; provided, however, that the DIP Lender shall
                use commercially reasonable efforts to first obtain recoveries
                from DIP Collateral other than the proceeds of avoidance actions.

            (b) Section 364(c)(3) DIP Liens. Pursuant to section 364(c)(3) of the
                Bankruptcy Code, a valid, binding, continuing, enforceable,
                fully-perfected security interest (subject and subordinate to the
                Carve-Out) in, and lien upon, all tangible and intangible
                prepetition and postpetition property of each of the Credit Parties,
                whether existing on the Petition Date or thereafter acquired, and
                all cash and non-cash proceeds, rents, products, substitutes,
                accruals and profits of such property that is subject to liens
                existing on the Petition Date (to the extent valid, enforceable,
                perfected and not subject to avoidance as of the Petition Date or
                perfected after the Petition Date pursuant to section 546(b) of the
                Bankruptcy Code) (collectively, the “Permitted Liens”), which
                security interests and liens in favor of the DIP Lender shall
                be immediately junior and subordinate to any such Permitted
                Liens; provided that DIP Liens shall be senior to liens granted
                pursuant to that certain Secured Senior Takeback Note (as may



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                             MATERIAL TERMS                                                       Location
                        be amended, restated, amended and restated, supplemented, or
                        otherwise modified from time to time in accordance with the
                        terms thereof), between the Debtors and Oaktree.

                    (c) Excluded Assets. Notwithstanding the foregoing, the liens
                        granted shall not attach to any Excluded Property, and no
                        Excluded Property shall constitute DIP Collateral.
                    Usual and customary affirmative covenants for financings of this
                    type, including stipulations to, among other things:
                           permit the DIP Lender to audit all corporate and financial
                            books and records of the Debtors;
                           maintain insurance with respect to the DIP Collateral; and
                          preserve and maintain their legal existence
                    Usual and customary negative covenants for financings of this type,
Covenants           including stipulations to, among other things, not:                         DIP Note,
Bankruptcy Rule            create, incur, assume, or otherwise become or remain liable         § 14, 15
4001(c)(1)(B)               with respect to any indebtedness except as permitted;
                           create, incur, assume, or permit existence of any liens on any
                            property or assets, except as permitted;
                           pay or make certain restricted payments, except as permitted;
                           enter into or cause to exist certain burdensome agreements;
                           make or own any investment, except as permitted; and
                           make any disposition of assets, except as permitted.
                    Usual and customary events of default for financings of this type,
                    subject to customary grace periods and thresholds, including:
                           any missed Milestones (as defined herein);
                           failure to comply with the RSA;
                           failure to comply with the Shared Services Agreement
                            entered into between the Debtors and DIP Lender, dated
                            August 8, 2024 (the “SSA”);
                           entry of an order by the Bankruptcy Court conferring
Events of Default           standing of a creditors’ committee or any to pursue claims          DIP Note,
Bankruptcy Rule             and causes of action on behalf of the Debtors or their estates      § 15
4001(c)(1)(B)               against the DIP Lender or any of its affiliates (as defined in
                            the Bankruptcy Code);
                           the filing of any chapter 11 plan that is not an Approved Plan
                            (as defined in the RSA);
                           entry of an order by the Bankruptcy Court terminating the
                            Debtors’ exclusive periods to file a chapter 11 plan and
                            solicit acceptances thereof; and
                           entry of an order by the Bankruptcy Court denying
                            confirmation of an Approved Plan.

Milestones          The DIP Note contains the following milestones (collectively, the
                    “Milestones”):                                                              DIP Note,
Bankruptcy Rule                                                                                 Annex B
4001(c)(1)(B)(vi)          No later than the date that is 2 business days after the Petition
                            Date, the Bankruptcy Court shall have entered an interim



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                             MATERIAL TERMS                                                        Location
                             DIP order, in form and substance acceptable to the DIP
                             Lender;
                            No later than the date that is 7 calendar days after the Petition
                             Date, the Debtors shall have filed the Approved Plan and a
                             disclosure statement (the “Disclosure Statement”), in form
                             and substance acceptable to the DIP Lender;
                            No later than 14 calendar days after the Petition Date, the
                             Debtors shall have filed a motion (the “SSA Motion”), in
                             form and substance acceptable to the DIP Lender, seeking
                             approval of the SSA;
                            No later than 45 calendar days after the Petition Date, the
                             Bankruptcy Court shall have entered the final DIP order, in
                             form and substance acceptable to the DIP Lender;
                            No later than the date that is the earlier of (a) 45 calendar
                             days after the Petition Date and (b) 30 calendar days after the
                             appointment of a statutory committee of unsecured creditors
                             (if any), the Bankruptcy Court shall have entered an order,
                             in form and substance acceptable to the DIP Lender,
                             approving the SSA Motion;
                            No later than the date that is 50 calendar days after the
                             Petition Date, the Bankruptcy Court shall have entered an
                             order, in form and substance reasonably acceptable to the
                             DIP Lender, setting forth the claims bar date;
                            No later than the date that is 60 calendar days after the
                             Petition Date, the Bankruptcy Court shall have entered an
                             order, in form and substance reasonably acceptable to the
                             DIP Lender, approving the Disclosure Statement and
                             authorizing the Debtors to solicit the Approved Plan;
                            No later than November 15, 2024, the Bankruptcy Court
                             shall have entered an order, in form and substance acceptable
                             to the DIP Lender, approving and confirming the Approved
                             Plan; provided that this Milestone shall be automatically
                             extended by the same number of days of any extension of the
                             Maturity Date mutually agreed to by the Borrower and DIP
                             Lender; and
                            No later than November 29, 2024, the effective date of the
                             Approved Plan shall have occurred; provided, that this
                             Milestone shall be automatically extended by the same
                             number of days of any extension of the Maturity Date
                             mutually agreed to by the Borrower and DIP Lender.

Carve-Out            “Carve-Out” means the sum of:
                                                                                                 Interim Order,
Bankruptcy Rule         (i) All unpaid fees required to be paid to the Clerk of the Court        ¶ 12(b)
4001(b)(1)(B)(iii)          and to the U.S. Trustee under section 1930(a) of title 28 of




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                                MATERIAL TERMS                                                      Location
                               the United States Code plus interest at the statutory rate,
                               pursuant to 31 U.S.C. § 3717;
                          (ii) All unpaid reasonable and documented fees and expenses up
                               to $100,000 incurred by a trustee under section 726(b) of the
                               Bankruptcy Code;
                          (iii) To the extent allowed at any time, whether by interim order,
                                procedural order, final order, or otherwise, all accrued but
                                unpaid fees and expenses (the “Allowed Professional
                                Fees”) incurred by persons or firms retained or proposed to
                                be retained by the Debtors pursuant to section 327, 328, or
                                363 of the Bankruptcy Code (collectively, the “Debtor
                                Professionals”) and the Creditors’ Committee pursuant to
                                section 328 or 1103 of the Bankruptcy Code, at any time
                                before or on the first Business Day following the delivery of
                                the Carve-Out Trigger Notice (as defined in the Interim
                                Order) and without regard to whether such fees or expenses
                                are provided for in any Approved Budget or were invoiced
                                after the Carve-Out Trigger Date and any monthly,
                                restructuring, sale, success or other transaction fee payable
                                to Debtor Professionals, whether allowed by this Court prior
                                to or after delivery of a Carve-Out Trigger Notice;
                          (iv) Allowed Professional Fees of Debtor Professionals incurred
                               after the first Business Day following the Carve-Out Trigger
                               Date in an aggregate amount not to exceed $2,500,000; and
                          (v) Allowed Professional Fees of the Committee incurred after
                              the first Business Day following the Carve-Out Trigger Date
                              in an aggregate amount not to exceed $250,000.

                      Use of DIP Proceeds and Cash Collateral: The Borrower shall utilize
                      the proceeds of DIP Loans, subject to the Interim Order, to i. fund
                      general corporate needs, including without limitation working capital
                      and other needs and ii. pay costs, premiums, fees, and expenses
                      incurred to administer or related to of the Chapter 11 Cases, including
                      fees and expenses of professionals, in each case, solely in accordance
                      with the Approved Budget, subject to any Permitted Variance, as
                      defined in the DIP Note).
Terms of Use and
Purposes for Use of   Limitations on Use of DIP Proceeds and Cash Collateral: Unless
DIP Proceeds and      otherwise provided in the Approved Budget, subject to any Permitted         DIP Note,
Cash Collateral       Variance or approved by the DIP Lender, no portion of any DIP Loans         § 1(e)
Bankruptcy Rule       shall be used, directly or indirectly: (A) except as permitted by section
4001(c)(1)(B)         15(d) of the DIP Note, to make any payment in respect of, or
                      repurchase, redeem, retire or defease any, prepetition Indebtedness,
                      except pursuant to the terms of the Interim Order or Final Order or to
                      finance or make any restricted payment, (B) to pay any fees or similar
                      amounts payable to any person who has proposed or may propose to
                      purchase interests in any of the Borrower or any of its respective
                      subsidiaries or affiliates or who otherwise has proposed or may
                      propose to invest in the Borrower or any of its respective Subsidiaries
                      or affiliates (including so-called “topping fees,” “exit fees,” and
                      similar amounts), or (C) to make any distribution under a plan of




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                                      MATERIAL TERMS                                                     Location
                             reorganization in the Chapter 11 Cases or any similar proceeding of
                             any of the Subsidiaries or affiliates of any of the Borrower.
Parties with an
Interest in Cash
Collateral                                                                                             Interim Order,
                             DIP Lender and Oaktree
                                                                                                       ¶M
Bankruptcy Rule
4001(b)(1)(B)(i)
Liens, Cash Payments
or Adequate
Protection Provided          Oaktree has consented to the Debtors use of cash collateral and is
for Use of Cash              waiving any request for adequate protection to which it is entitled       Interim Order,
Collateral                   under the Bankruptcy Code.                                                ¶4
Bankruptcy Rule
4001(b)(1)(B)(iv)
Determination
Regarding Prepetition        The Interim Order does not contain stipulations of fact by the Debtors
Claims                       related to the validity and enforceability of the Debtors’ prepetition    N/A
Bankruptcy Rule              secured obligations.
4001(c)(1)(B)(iii)

Liens on Avoidance           Subject to entry of the Final Order, the DIP Lender will receive a lien
Actions                      on the proceeds of avoidance actions under chapter 5 of the
                                                                                                       Interim Order,
                             Bankruptcy Code; provided, however, that the DIP Lender shall use
Bankruptcy Rule                                                                                        ¶7
                             commercially reasonable efforts to first obtain recoveries from DIP
4001(c)(1)(B)(xi)            Collateral other than the proceeds of avoidance actions.
Effect of Debtors’
Stipulations on Third
Parties                      N/A                                                                       N/A
Bankruptcy Rule
4001(c)(1)(B)(iii), (viii)
                             Pursuant to the Interim Order, the Automatic Stay provisions of
                             section 362 of the Bankruptcy Code are modified to the extent
                             necessary to permit the Debtors and the DIP Lender to implement and
                             effectuate the terms and provisions of the Interim Order, the
                             DIP Documents and, upon entry, the Final Order, to deliver any
                             notices of default or termination described below and as further set
                             forth herein.
Waiver or
Modification of the          Moreover, pursuant to the Interim Order, upon the occurrence and          Interim Order,
Automatic Stay               during the continuation of a DIP Note Event of Default that has not       ¶ 10(b), 13(a),
Bankruptcy Rule              been waived by the DIP Lender or otherwise cured in accordance with       13(b), 13(c)
4001(c)(1)(B)(iv)            the DIP Documents (an “Event of Default Occurrence”), and
                             following delivery of a written notice (a “Default Notice”) on not less
                             than five business days’ notice (such five business day period, the
                             “Remedies Notice Period”) by the DIP Lender to counsel to the
                             Debtors, counsel to the Creditors’ Committee or other statutory
                             committee (if any), and the U.S. Trustee (the “Remedies Notice
                             Parties”), the DIP Lender may (and the Automatic Stay is hereby
                             modified, except as otherwise set forth herein) without further notice
                             to, hearing of, or order from this Court, unless this Court orders



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            otherwise (provided, that, during the Remedies Notice Period, the
            Debtors, the Creditors’ Committee or other statutory committee (if
            any), and/or any party in interest shall be entitled to seek an
            emergency hearing before the Court, and must provide prompt notice
            of such hearing to counsel to the DIP Lender, to contest whether an
            Event of Default Occurrence has occurred and/or to seek authority for
            the non-consensual use of Cash Collateral, and provided, further, that
            if a request for such hearing is made prior to the end of the Remedies
            Notice Period, then the Remedies Notice Period shall be continued
            until the Court hears and rules with respect thereto): (i) terminate any
            and all obligations of the DIP Lender in connection with the DIP
            Loans (including to make any further DIP Loans (except with respect
            to the funding of the Carve-Out in accordance with the Interim
            Order)) and the authority for the use of Cash Collateral under the
            Interim Order and the DIP Documents, as applicable; (ii) declare the
            DIP Obligations (subject only to the Carve-Out) immediately
            accelerated and due and payable for all purposes, rights, and remedies,
            without presentment, demand, protest or other notice of any kind, all
            of which are expressly waived by the Borrower; (iii) terminate or
            reduce the DIP Commitments to the extent any such commitments
            remain outstanding; (iv) terminate the DIP Note and the DIP Loans
            thereunder with respect to any future liability or obligation of the DIP
            Lender, but, for the avoidance of doubt, without affecting any of the
            DIP Liens, the DIP Superpriority Claims, or the DIP Obligations and
            any rights of the DIP Lender provided by the Interim Order;
            (v) invoke the right to charge interest at the default rate under the DIP
            Documents; and (vi) deliver the Carve-Out Trigger Notice; provided,
            that, notwithstanding delivery of a Default Notice, the Debtors may
            use the proceeds of the DIP Loans (only to the extent already drawn
            prior to the occurrence of a DIP Note Event of Default that is
            continuing or for the funding of the Carve-Out in accordance with the
            Interim Order), and other DIP Collateral in accordance with the terms
            of the Interim Order (including in respect of borrowing under the DIP
            Note to fund the Carve-Out in accordance with the Interim Order) and
            the Approved Budget (including any Permitted Variance).

            Upon an Event of Default Occurrence, the DIP Lender, prior to
            exercising any rights or remedies with respect to the DIP Collateral,
            shall be required to file a motion with the Court seeking emergency
            relief and an emergency hearing before the Court (a “Stay Relief
            Hearing”) on at least five business days’ written notice to the
            Remedies Notice Parties, and the Debtors agree not to object to the
            shortening of notice of such Stay Relief Hearing. At such Stay Relief
            Hearing, the DIP Lender may seek Court approval to enforce any
            other rights or remedies (in addition to those set forth in paragraph
            13(a) above) with respect to the DIP Collateral and the DIP Liens,
            including (i) the enforcement of DIP Liens, including foreclosure on
            all or any portion of the DIP Collateral, occupying the Debtors’
            premises, or sale or disposition of all or any part of the DIP Collateral,
            or (ii) any other remedies permitted under the Interim Order, the DIP
            Documents, or applicable law. If the DIP Lender is permitted by the
            Court to take any enforcement action with respect to the DIP
            Collateral following the Stay Relief Hearing, the Debtors shall
            cooperate with the DIP Lender in its effort to enforce its security
            interest in and liens on the DIP Collateral, and shall not take or direct



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                                   MATERIAL TERMS                                                      Location
                         any person or entity to take any action designed or intended to hinder
                         or restrict in any respect the DIP Lender from enforcing its security
                         interests in and liens on the DIP Collateral. For the avoidance of
                         doubt, prior to the entry by this Court of an order granting stay relief
                         to the DIP Lender, the Debtors may use the proceeds of the DIP Loans
                         (to the extent already drawn prior to the occurrence of a DIP Note
                         Event of Default that is continuing) or Cash Collateral in accordance
                         with the Approved Budget (including Permitted Variances) and the
                         terms of the DIP Documents and the Interim Order, as applicable.

                         Notwithstanding the occurrence of a DIP Note Event of Default
                         and/or termination of the DIP Commitments, all of the rights,
                         remedies, benefits, and protections provided to the DIP Lender under
                         the DIP Documents and the Interim Order shall survive. For the
                         avoidance of doubt, irrespective of any Remedies Notice Period, the
                         DIP Lender shall not be obligated to provide any DIP Loans or
                         advances at any time upon the occurrence and continuation of a DIP
                         Note Event of Default].
Waiver or
Modification of
Authority to File a
Plan, Extend Time to
File Plan, Request Use   The Interim Order does not provide for a waiver of any entity’s
of Cash Collateral, or   authority or right to file a plan, request the use of cash collateral, or   N/A
Request Authority to     request authority to obtain credit.
Obtain Credit
Bankruptcy Rule
4001(c)(1)(B)(v)
Waiver or
Modification of
Applicability of Non-
Bankruptcy Law
Relating to the          The Interim Order does not provide for a waiver of non-bankruptcy
                                                                                                     N/A
Perfection or            law relating to the perfection or enforcement of a lien.
Enforcement of a Lien
Bankruptcy Rule
4001(c)(1)(B)(vii)
                         Subject to the provisions of paragraph 20 of the Interim Order, except
                         in the case of fraud, gross negligence, or willful misconduct, in each
                         case, as judicially determined by a final order from a court of
                         competent jurisdiction, each of the Debtors and their estates, on its
Release, Waivers or      own behalf and on behalf of its and their respective past, present and
Limitation on any        future predecessors, successors, subsidiaries, and assigns, hereby
Claim or Cause of        absolutely, unconditionally and irrevocably releases and forever            Interim Order,
Action                   discharges and acquits the DIP Lender and (a) each of its respective        ¶ 20
Bankruptcy Rule          non-Debtor subsidiaries and non-Debtor affiliates (as defined in the
4001(c)(1)(B)(viii)      Bankruptcy Code), and (b) each of officers, directors, managers,
                         principals, employees, agents, financial advisors, attorneys,
                         accountants, investment bankers, consultants, representatives and
                         other professionals and the respective successors and assigns thereof
                         of the DIP Lender and each of its non-Debtor subsidiaries and non-



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                                   MATERIAL TERMS                                                    Location
                        Debtor affiliates, in each case in their respective capacity as such
                        (each, a “Representative” and, collectively, the “Representatives”
                        and, together with the DIP Lender, the “Released Parties”), from any
                        and all obligations and liabilities to the Debtors (and their successors
                        and assigns) and from any and all claims, counterclaims, demands,
                        defenses, offsets, debts, accounts, contracts, liabilities, actions and
                        causes of action arising prior to the Petition Date of any kind, nature
                        or description, whether matured or unmatured, known or unknown,
                        asserted or unasserted, foreseen or unforeseen, accrued or unaccrued,
                        suspected or unsuspected, liquidated or unliquidated, pending or
                        threatened, arising in law or equity, upon contract or tort or under any
                        state or federal law or otherwise, in each case solely arising out of or
                        related to (as applicable) the DIP Documents, the obligations owing
                        and the financial obligations made thereunder, the negotiation thereof
                        and of the transactions and agreements reflected thereby, and the
                        obligations and financial obligations made thereunder, in each case
                        that the Debtors or their estates at any time had, now have or may
                        have, or that their predecessors, successors or assigns at any time had
                        or hereafter can or may have against any of the Released Parties for
                        or by reason of any act, omission, matter, cause or thing whatsoever
                        arising at any time on or prior to the date of the Interim Order. For
                        the avoidance of doubt, nothing in this release shall relieve the DIP
                        Lender or the Debtors or their estates of their respective obligations
                        under the DIP Documents and the Interim Order.
Indemnification         The DIP Note and Interim Order contain indemnification provisions          DIP Note, § 9
Bankruptcy Rule         ordinary and customary for debtor-in-possession financings of this         Interim Order,
4001(c)(1)(B)(ix)       type.                                                                      ¶ 26
                        Except to the extent of the Carve-Out and subject to entry of a Final
                        Order granting such relief, no costs or expenses of administration of
                        the Chapter 11 Cases or any Successor Cases or any future proceeding
                        that may result therefrom, including liquidation in bankruptcy or other
                        proceedings under the Bankruptcy Code, shall be charged against or
Section 506(c) Waiver   recovered from the DIP Collateral pursuant to section 506(c) of the
                                                                                                   Interim Order
Bankruptcy Rule         Bankruptcy Code or any similar principle of law, without the prior
                                                                                                   ¶ 22
4001(c)(1)(B)(x)        written consent of the DIP Lender and no consent shall be implied
                        from any other action, inaction, or acquiescence by the DIP Lender,
                        and nothing contained in the Interim Order shall be deemed to be a
                        consent by the DIP Lender to any charge, lien, assessment, or claims
                        against the DIP Collateral under section 506(c) of the Bankruptcy
                        Code or otherwise.

Section 552(b) Waiver   Subject to entry of a Final Order granting such relief, no event shall
                        the DIP Lender be subject to the equitable doctrine of “marshaling”        Interim Order
Bankruptcy Rule         or any similar doctrine with respect to the DIP Collateral or the DIP      ¶ 23
4001(c)(1)(B)           Obligations.




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                          Statement Regarding Significant Provisions

               14.     Pursuant to paragraph 8 of the Complex Case Procedures, the DIP Note

and/or the Orders contain the following provisions (“Significant Provisions”):

        DIP Financing Term                                    Relief Requested
                                    The DIP Note, attached hereto as Exhibit C, requires the Debtors to
                                    comply with the following Milestones including:
                                            No later than the date that is 2 business days after the Petition
                                             Date, the Bankruptcy Court shall have entered an interim DIP
                                             order, in form and substance acceptable to the DIP Lender;
                                            No later than the date that is 7 calendar days after the Petition
                                             Date, the Debtors shall have filed the Approved Plan and a
                                             DS, in form and substance acceptable to the DIP Lender;
                                            No later than 14 calendar days after the Petition Date, the
                                             Debtors shall have filed the SSA Motion in form and
                                             substance acceptable to the DIP Lender, seeking approval of
                                             the SSA;
                                            No later than 45 calendar days after the Petition Date, the
                                             Bankruptcy Court shall have entered the final DIP order, in
                                             form and substance acceptable to the DIP Lender;
                                            No later than the date that is the earlier of (a) 45 calendar days
                                             after the Petition Date and (b) 30 calendar days after the
                                             appointment of a statutory committee of unsecured creditors
 Plan Confirmation Milestones                (if any), the Bankruptcy Court shall have entered an order, in
 Complex Case                                form and substance acceptable to the DIP Lender, approving
 Procedures ¶ 8(a)                           the SSA Motion;
                                            No later than the date that is 50 calendar days after the Petition
                                             Date, the Bankruptcy Court shall have entered an order, in
                                             form and substance reasonably acceptable to the DIP Lender,
                                             setting forth the claims bar date;
                                            No later than the date that is 60 calendar days after the Petition
                                             Date, the Bankruptcy Court shall have entered an order, in
                                             form and substance reasonably acceptable to the DIP Lender,
                                             approving the Disclosure Statement and authorizing the
                                             Debtors to solicit the Approved Plan;
                                            No later than November 15, 2024, the Bankruptcy Court shall
                                             have entered an order, in form and substance acceptable to the
                                             DIP Lender, approving and confirming the Approved Plan;
                                             provided, that this Milestone shall be automatically extended
                                             by the same number of days of any extension of the Maturity
                                             Date mutually agreed to by the Borrower and DIP Lender;
                                             and
                                            No later than November 29, 2024, the effective date of the
                                             Approved Plan shall have occurred; provided, that this
                                             Milestone shall be automatically extended by the same




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        DIP Financing Term                                      Relief Requested
                                                number of days of any extension of the Maturity Date
                                                mutually agreed to by the Borrower and DIP Lender.
                                      Justification: These milestones are appropriate given the amount of
                                      funding the DIP Lender are willing to make available to the Debtors to
                                      fund the Chapter 11 Cases. The Debtors believe that the DIP Lender
                                      would not have otherwise provided the DIP Loans.

Cross-Collateralization               The Interim Order does not provide for cross-collateralization.
Complex Case
Procedures ¶ 8(b)
Roll-ups                              The Interim Order does not provide for a roll-up.
Complex Case
Procedures ¶ 8(c)
                                      Subject to entry of the Final Order, the DIP Lenders will receive a lien
                                      on the proceeds of any avoidance actions; provided, however, that the
                                      DIP Lender shall use commercially reasonable efforts to first obtain
                                      recoveries from DIP Collateral other than the proceeds of avoidance
                                      actions. Interim Order ¶ 7(a).

Liens on Avoidance Actions or         Justification: Granting DIP Liens and DIP Superpriority Claims on
Proceeds of Avoidance Actions         proceeds and property recovered in respect of Avoidance Actions is
Complex Case                          appropriate because the DIP Facility provides the Debtors with
Procedures ¶ 8(d)                     necessary liquidity to fund the Debtors’ Chapter 11 Cases and ensure
                                      the Debtors are able to maximize value for their estates. Moreover, the
                                      liens were required by the DIP Lender as a condition to extending
                                      credit. The Debtors respectfully submit that granting liens on the
                                      proceeds of avoidance actions is appropriate under these circumstances
                                      because it is subject to a final order and will allow parties in interest the
                                      opportunity to object.
                                      The Interim Order and DIP Note provide for certain Events of Default
                                      and remedies upon Events of Default, including customary termination
                                      events for, among other things, any material default, violation, or breach
                                      of the terms of the Interim Order by the Debtors, conversion or
                                      dismissal of the Debtors’ cases, or appointment of a chapter 11 trustee.
                                      Interim Order ¶¶ 13(a), 13(b).

                                      Justification: These Events of Default appropriately balance, in the
Default Provisions and Remedies
                                      Debtors’ view, the DIP Lender’s need for protection and the Debtors’
Complex Case                          need for debtor-in-possession financing. In addition, the DIP Lender
Procedures ¶ 8(e)                     must provide five (5) business days’ prior written notice prior to
                                      exercising its rights under the DIP Documents and file a motion seeking
                                      emergency relief from the automatic stay. Until such time as the stay
                                      relief motion has been adjudicated by the Court, the Debtors may use
                                      the proceeds of the DIP Loans (to the extent drawn prior to the
                                      occurrence of the Event of Default (as defined in the DIP Note) to fund
                                      operations in accordance with the DIP Note. Therefore, the Interim
                                      Order does not provide for the automatic lifting of the stay upon a DIP
                                      Note Event of Default.
Releases of Claim Against Lender or   Subject to the provisions of paragraph 20 of the Interim Order, except
Others                                in the case of fraud, gross negligence, or willful misconduct, in each



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        DIP Financing Term                                   Relief Requested
Complex Case                    case, as judicially determined by a final order from a court of competent
Procedures ¶ 8(f)               jurisdiction, each of the Debtors and their estates, on its own behalf and
                                on behalf of its and their respective past, present and future
                                predecessors, successors, subsidiaries, and assigns, hereby absolutely,
                                unconditionally and irrevocably releases and forever discharges and
                                acquits the DIP Lender and (a) each of its respective non-Debtor
                                subsidiaries and non-Debtor affiliates (as defined in the Bankruptcy
                                Code), and (b) each of officers, directors, managers, principals,
                                employees, agents, financial advisors, attorneys, accountants,
                                investment bankers, consultants, representatives and other
                                professionals and the respective successors and assigns thereof of the
                                DIP Lender and each of its non-Debtor subsidiaries and non-Debtor
                                affiliates, in each case in their respective capacity as such (each, a
                                “Representative” and, collectively, the “Representatives” and, together
                                with the DIP Lender, the “Released Parties”), from any and all
                                obligations and liabilities to the Debtors (and their successors and
                                assigns) and from any and all claims, counterclaims, demands,
                                defenses, offsets, debts, accounts, contracts, liabilities, actions and
                                causes of action arising prior to the Petition Date of any kind, nature or
                                description, whether matured or unmatured, known or unknown,
                                asserted or unasserted, foreseen or unforeseen, accrued or unaccrued,
                                suspected or unsuspected, liquidated or unliquidated, pending or
                                threatened, arising in law or equity, upon contract or tort or under any
                                state or federal law or otherwise, in each case solely arising out of or
                                related to (as applicable) the DIP Documents, the obligations owing and
                                the financial obligations made thereunder, the negotiation thereof and
                                of the transactions and agreements reflected thereby, and the obligations
                                and financial obligations made thereunder, in each case that the Debtors
                                or their estates at any time had, now have or may have, or that their
                                predecessors, successors or assigns at any time had or hereafter can or
                                may have against any of the Released Parties for or by reason of any
                                act, omission, matter, cause or thing whatsoever arising at any time on
                                or prior to the date of the Interim Order. For the avoidance of doubt,
                                nothing in this release shall relieve the DIP Lender or the Debtors or
                                their estates of their respective obligations under the DIP Documents
                                and the Interim Order. Interim Order ¶ 20.
                                Unless otherwise provided in the Approved Budget, subject to any
                                Permitted Variance or approved by the DIP Lender, no portion of any
                                DIP Loans shall be used, directly or indirectly: (A) except as permitted
                                by Section Error! Reference source not found., to make any payment
                                in respect of, or repurchase, redeem, retire or defease any, prepetition
Limitations on the Use of DIP   Indebtedness, except pursuant to the terms of the Interim Order or Final
Proceeds                        Order or to finance or make any restricted payment, (B) to pay any fees
Complex Case                    or similar amounts payable to any person who has proposed or may
Procedures ¶ 8(g)               propose to purchase interests in any of the Borrower or any of its
                                respective subsidiaries or affiliates or who otherwise has proposed or
                                may propose to invest in the Borrower or any of its respective
                                Subsidiaries or affiliates (including so-called “topping fees,” “exit
                                fees,” and similar amounts), or (C) to make any distribution under a
                                plan of reorganization in the Chapter 11 Cases or any similar




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         DIP Financing Term                                      Relief Requested
                                     proceeding of any of the Subsidiaries or affiliates of any of the
                                     Borrower. See DIP Note § 1(e).
                                     Justification: These limitations are usual and customary. The Debtors,
                                     having engaged in arm’s length negotiations with the DIP Lenders,
                                     agreed to limit the Debtors’ use of proceeds of the DIP Loans as
                                     consideration for, among other things, the provision of new money
                                     within the broader context the Debtors’ value-maximizing chapter 11
                                     process. The limitation is reasonable given the facts and circumstances
                                     of the Chapter 11 Cases.
                                     Pursuant to section 364(c)(3) of the Bankruptcy Code, a valid, binding,
                                     continuing, enforceable, fully-perfected security interest (subject and
                                     subordinate to the Carve-Out) in, and lien upon, all tangible and
                                     intangible prepetition and postpetition property of each of the Loan
                                     Parties, whether existing on the Petition Date or thereafter acquired, and
                                     all cash and non-cash proceeds, rents, products, substitutes, accruals
                                     and profits of such property that is subject to Permitted Liens, which
                                     security interests and liens in favor of the DIP Lender shall
                                     be immediately junior and subordinate to any such Permitted Liens;
 Priming Liens                       provided that DIP Liens shall be senior to liens granted pursuant to that
 Complex Case Procedures ¶ 8(h)      certain Secured Senior Takeback Note (as may be amended, restated,
                                     amended and restated, supplemented, or otherwise modified from time
                                     to time in accordance with the terms thereof), between the Debtors and
                                     Oaktree. Interim Order ¶ 7(b).

                                     Justification: It is appropriate to provide priming liens to the DIP
                                     Lenders to secure the DIP Obligations because Oaktree has consented
                                     to the priming of their liens. The Interim Order does not provide for
                                     any non-consensual priming liens. Furthermore, Oaktree has waived
                                     adequate protection.


                                           Background

A.     Need for DIP Financing

                15.     The Debtors require access to the DIP Financing to ensure they have

sufficient liquidity to implement the orderly wind down of their businesses over the course of the

Chapter 11 Cases. The Debtors are entering chapter 11 with only approximately $2.2 million cash

on hand, which is insufficient to fund operations and expenses for the projected duration of the

Chapter 11 Cases, including costs associated with marketing and selling substantially all of the

Debtors’ assets, while the Debtors implement an orderly wind-down.

                16.     As further described in the Kaup Declaration, the Debtors have incurred

operating losses each year since 2017, rendering their business unprofitable and unsustainable.


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The Debtors’ operating losses are projected to further increase in light of headwinds which the

Debtors’ rely on for its forward parcel delivery service, and changes in the broader ecommerce

market. These forces collectively have put pressure on the Debtors, which sought chapter 11 relief

to promote an orderly wind-down and liquidation process. That process requires access to capital.

               17.     The Debtors, with the assistance of Portage Point, undertook a detailed

analysis of their operations and funding needs. From this review and analysis, it became clear that

the Debtors would require an infusion of capital to allow them to implement an orderly wind down

of their operations in the Chapter 11 Cases. Specifically, the Debtors, in consultation with Portage

Point, determined that DIP financing is necessary to, among other things, (i) promote the orderly

wind down of their business, (ii) fund payroll, (iii) satisfy other working capital and operational

needs, and (iv) pay administrative expenses and other costs associated with the chapter 11 process.

In sum, access to DIP financing is critical to preserve the value of the Debtors’ assets and to

facilitate the orderly wind-down of the Debtors’ operations contemplated by the RSA and the Plan.

               18.     Based upon projections in the Initial DIP Budget, the Debtors and their

advisors determined that, without access to the DIP Financing, the Debtors will not have sufficient

cash to maintain limited business operations, pay employees, and fund the administration of the

Chapter 11 Cases through the wind-down. Without cash, the Debtors could not afford to run a

robust marketing and sale process, with the assistance of qualified advisors. This would disrupt

the company at a critical time when preserving value is of utmost importance.

               19.     Such a disruption in operations would almost certainly have a negative

impact on the value of the Debtors’ estates, which would cause the Debtors to suffer immediate

and irreparable harm to the detriment of the Debtors’ creditors.




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B.     Efforts to Obtain DIP Financing

               20.    In June 2024, Pitney Bowes approached the Debtors to propose the DIP

Financing as part of the broader negotiations in connection with the Chapter 11 Cases. The

Debtors and advisors began discussions with the Pitney Bowes regarding the proposed financing

and engaged in a series of exchanges concerning the potential terms and conditions of such

financing.   Motivated to minimize further losses associated with the Debtors’ continued

operations, Pitney Bowes expressed a willingness to provide the DIP Financing on better-than-

market terms to ensure the Debtors’ orderly wind down in the Chapter 11 Cases.

               21.    Indeed, as discussed in the Lansio Declaration, beginning in July 2024, with

assistance from the Debtors’ management team and advisors, Portage Point commenced a

marketing process to determine whether an alternative source of debtor-in-possession financing

existed in the market. Portage Point explored potential interest in debtor-in-possession financing

from seven third-party lenders. None of these parties expressed an interest in providing such

financing, much less on terms superior to the DIP Financing proposed by Pitney Bowes.

               22.    In particular, the proposed DIP Note includes minimal fees, a market

interest rate, and relatively modest covenants when compared with debtor-in-possession financing

arrangements of similar size. Furthermore, pursuant to the RSA, Pitney Bowes has agreed to

support the Debtors through the Chapter 11 Cases, including through the SSA (as defined in the

RSA), which will allow the Debtors to continue using shared services with Pitney Bowes during

the Chapter 11 Cases. This total package of transactions will facilitate the liquidation of assets

and ultimate wind-down of the Debtors.

               23.    In addition, as the Debtors’ former corporate parent, PBIH is uniquely

familiar with the Debtors’ business and the circumstances of the Chapter 11 Cases, allowing the

Debtors to bypass the time and expense of due diligence and additional professional fees incidental


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to third-party debtor-in-possession financing. Therefore, the proposed DIP Financing will provide

the Debtors with access to immediate liquidity and avoids the execution risk and time constraints

a third-party lender proposal would necessarily entail.

               24.     Following an arm’s-length negotiation over several weeks, the Debtors

reached an agreement with the PBIH on the terms of financing in the aggregate principal amount

of up to $47 million, comprised of the following: (i) new-money term loans to be made in multiple

draws following entry of the Interim Order in an aggregate principal amount equal to $45 million;

and (ii) new-money term loans to be made in multiple draws following entry of the Final Order in

an aggregate principal amount equal to $2 million.

               25.     In addition, the following summarizes certain additional key terms of the

DIP Financing, as further summarized above:

              Interest Rate: the DIP Financing will accrue interest at a rate of 10.00% per annum,
               accruing monthly and payable in kind;

              Upfront Fee: the Debtors have agreed to pay the DIP Lender a an upfront fee of
               2.00% of the DIP Commitment, which shall be fully earned and non-refundable
               upon entry of an interim DIP order, and payable in kind; and

              Undrawn Commitment Fee: the Debtors have agreed to pay the DIP Lender a fee
               of 1.00% of the unused DIP Commitment during the preceding month, shall accrue
               and payable in kind.

C.     Use of Cash Collateral

               26.     On August 8, 2024, prior to the commencement of the Chapter 11 Cases,

the Debtors and Oaktree, entered into that certain Secured Senior Takeback Note (the “Oaktree

Takeback Note”), pursuant to which the Debtors promised to the order of Payee the principal

aggregate amount of $3.3 million, consisting of a (i) a first tranche of $2.4 million and (ii) a second

tranche of $900,000. The Oaktree Takeback Note is secured by a lien on substantially all of the

Debtors’ assets, including the Debtors’ cash.



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               27.     Pursuant to the Oaktree Takeback Note and RSA, Oaktree has agreed to

allow the Debtors to use any cash that constitutes Oaktree’s cash collateral (as defined in section

363 of the Bankruptcy Code) during the Chapter 11 Cases. Oaktree further has agreed not to seek

adequate protection on account of its interest in any “Collateral” (as that term is defined in the

Oaktree Takeback Note) securing the Debtors’ obligations under the Oaktree Takeback Note.

Accordingly, the Debtors seek authority to continue use of cash collateral on a consensual basis

during the pendency of the Chapter 11 Cases.

                            The DIP Financing Should Be Approved

               28.     The Debtors satisfy the requirements for relief under section 364 of the

Bankruptcy Code, which authorizes a debtor to obtain secured or superpriority financing under

certain circumstances. As set forth in the Lansio Declaration, the Debtors were unable to procure

sufficient financing in the form of unsecured credit, which would be allowable under

section 503(b)(1) or as an administrative expense, in accordance with sections 364(a) or (b) of the

Bankruptcy Code. See 11 U.S.C. §§ 364(a)–(b), 503(b)(1). Having determined that postpetition

financing was only available pursuant to sections 364(c) and (d) of the Bankruptcy Code, the

Debtors negotiated with the PBIH to secure the DIP Financing on the terms described herein. For

these reasons, as discussed further below, the Debtors satisfy the necessary conditions under

sections 364(c) for authority to enter into the DIP Financing.

A.     DIP Financing Represents an Exercise of Debtors’ Business Judgment

               29.     If an agreement to obtain secured credit does not run afoul of the provisions

of, and policies underlying, the Bankruptcy Code, courts give debtors considerable deference in

acting in accordance with their business judgment in obtaining such credit. See, e.g., In re Estrada,

No. 16-80003-G3-11, 2016 WL 745536, at *3 (Bankr. S.D. Tex. Feb. 24, 2016) (“In determining

whether to approve a motion to obtain credit, courts generally permit debtors in possession to


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exercise their basis business judgment consistent with their fiduciary duties.”); In re N. Bay Gen.

Hosp., Inc., No. 08-20368 (Bankr. S.D. Tex. July 11, 2008) (Docket No. 21) (order approving

postpetition financing on an interim basis as exercise of debtors’ business judgment); In re Los

Angeles Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always

defer to the business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores,

Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s

discretion under section 364 is to be utilized on grounds that permit reasonable business judgment

to be exercised so long as the financing agreement does not contain terms that leverage the

bankruptcy process and powers or its purpose is not so much to benefit the estate as it is to benefit

a party-in-interest.”).

                30.       The Fifth Circuit has described the business judgment standard as a flexible

one, which will be satisfied if a debtor articulates a business justification and the decision furthers

the interests of the Debtor and other parties in interest. See ASARCO, Inc. v. Elliott Mgmt. (In re

ASARCO, L.L.C.), 650 F.3d 593, 601 (5th Cir. 2011) (in the context of section 363 of the

Bankruptcy Code); see also Institutional Creditors of Cont’l Air Lines, Inc. v. Cont’l Air Lines,

Inc. (In re Cont’l Air Lines, Inc.), 780 F.2d 1223, 1226 (5th Cir. 1986). Courts generally will not

second-guess a debtor’s business decisions when those decisions involve the appropriate level of

care in arriving at the decision on an informed basis, in good faith, and in the honest belief that the

action was taken in the best interest of the debtor. See In re Los Angeles Dodgers LLC, 457 B.R.

at 313. Further, in considering whether the terms of postpetition financings are fair and reasonable,

courts consider the terms in light of the relative circumstances of both the debtor and the potential

lender. In re Farmland Indus., Inc., 294 B.R. 855–86 (Bankr. W.D. Mo. 2003); see also Unsecured

Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Tr. Co. of Escanaba (In re Ellingsen




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MacLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have

to enter into “hard bargains” to acquire funds for its reorganization).

               31.     The Debtors’ determination to move forward with the DIP Financing is an

exercise of their business judgment following a thorough process conducted with the guidance of

experienced advisors, and after careful evaluation of alternatives. Given the Debtors’ desires to

wind down and not continue as a going-concern, the financing marketing process did not yield any

actionable interest. Indeed, it became clear that the DIP Financing was the best available financing

source, and PBIH expressed a desire and willingness to move quickly to commit to provide

financing on favorable economic terms. DRF Logistics’s advisors, with the oversight of an

independent board of managers, negotiated the DIP Financing with PBIH in good faith and at

arm’s length, and the Debtors believe that they have obtained the best financing available in an

amount sufficient to fund operations and the costs of the Chapter 11 Cases on reasonable terms.

Accordingly, the Court should authorize the Debtors’ entry into the DIP Documents as an exercise

of the Debtors’ business judgment.

B.     Even if Entire Fairness Standard Applies, Entry into DIP Financing Should be
       Approved

               32.     Although business judgment is the proper standard for review and approval

of the DIP Financing, the DIP Financing passes muster under the entire fairness standard as well.

Following the Hilco Transaction (as defined in the Kaup Declaration), PBIH is not an “insider” of

the Debtors within the meaning of section 101(31) of the Bankruptcy Code. Thus, the DIP

Financing can and should be approved under the business judgement rule, especially given that

DRF Logstics’s board of managers, which is fully independent, oversaw the negotiation process

and approved entry into the DIP Financing on behalf of the Debtors.




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               33.     The business judgment rule applies unless: (i) the directors did not make a

decision; (ii) the directors’ decision was uninformed; (iii) the directors were not disinterested or

independent; or (iv) the directors were grossly negligent. See In re Los Angeles Dodgers LLC, 457

B.R. at 313. As set forth in the Lansio Declaration, the Debtors and their advisors went to great

lengths to ensure independent board of managers (who are unaffiliated with Pitney Bowes) made

an informed and reasonable decisions in their selection and negotiation of the proposed DIP

Financing and, therefore, should be entitled to the deference of the business judgment rule.

               34.     Even if the Court were to apply the “entire fairness” standard to analyze the

DIP Financing, the DIP Financing should be approved. The entire fairness standard consists of

“two aspects, fair dealing and fair price, both of which must be examined together in resolving the

ultimate question of entire fairness.” Rosenblatt v. Getty Oil Co., 493 A.2d 929, 937 (Del. 1985).

Ordinarily, the party seeking to consummate the challenged transaction bears the burden of

proving entire fairness. See Kahn v. Lynch Comm’ns Sys., Inc., 638 A.2d 1110, 1117 (Del. 1994).

The burden of pro[ving unfairness “shifts . . . entirely” to the challenging party, however, where

the challenged transaction was approved by an independent committee of directors. Rosenblatt,

493 A.2d at 937. Where a controlling shareholder did not dictate the terms of the transaction and

an independent negotiator had real bargaining power, which was exercised on an arm’s-length

basis, the burden to prove unfairness falls to the challenging party. Kahn, 638 A.2d at 1117.

Indeed, the business judgment rule is set aside only upon a showing that the debtor’s directors

were uninformed, grossly negligent, or lacking independence. See In re Los Angeles Dodgers

LLC, 457 B.R. 308, 313 (Bank. D. Del. 2011); In re Mid-State Raceway, Inc., 323 B.R. 40, 58

(Bankr. S.D.N.Y. 2005) (“To overcome the business judgment rule, the entity opposing the

decision by the directors must establish that they acted in bad faith or with fraudulent intent.”).




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               35.     With respect to fair dealing, as set forth in the Lansio Declaration, PBIH

and the Debtors were represented by separate advisors in negotiating the terms of the DIP

Financing, and the independent managers on DRF Logistics’s board oversaw the debtor-in-

possession financing process and ultimately approved the DIP Financing. Multiple iterations of a

term sheet, budget, and draft definitive documents were traded and negotiated between the Debtors

and DIP Lender. The process, therefore, was at all times conducted in good faith and at arm’s

length. Further, the terms of the DIP Financing are likewise fair, reasonable, and consistent with

market comparables for similar financings. As set forth in the Lansio Declaration, no third-party

source of financing was available, which provides further support for the competitiveness of the

terms. Accordingly, the Debtors’ entry into the DIP Financing satisfies the entire fairness standard

to the extent such standard applies.

C.     Debtors Should Be Authorized to Obtain DIP Financing on a Secured and
       Superpriority Basis

               36.     The Debtors satisfy the requirements for relief under section 364 of the

Bankruptcy Code, which authorizes a debtor to obtain secured or superpriority financing under

certain circumstances. Specifically, section 364(c) of the Bankruptcy Code provides that:

               If the trustee is unable to obtain unsecured credit allowable under
               section 503(b)(1) of this title as an administrative expense, the court,
               after notice and a hearing, may authorize the obtaining of credit or
               the incurring of debt:

               (1) with priority over any or all administrative expenses of the kind
               specified in section 503(b) or 507(b) of this title;

               (2) secured by a lien on property of the estate that is not otherwise
               subject to a lien; or

               (3) secured by a junior lien on property of the estate that is subject
               to a lien.

11 U.S.C. § 364(c).



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               37.     To satisfy the requirements of section 364(c) of the Bankruptcy Code,

courts will consider whether (i) the debtor made reasonable effort, but failed, to obtain unsecured

credit under sections 364(a) and 364(b) of the Bankruptcy Code, (ii) the credit transaction benefits

the debtor as necessary to preserve estate assets, and (iii) the terms of the credit transaction are

fair, reasonable, and adequate, given the circumstances of the debtor and proposed lender. See In

re Republic Airways Holdings Inc., No. 16-10429(SHL) 2016 WL 2616717, at *11 (Bankr.

S.D.N.Y. May 4, 2016); In re Los Angeles Dodgers LLC, 457 B.R. at 312–13; In re Ames Dep’t

Stores, Inc., 115 B.R. at 40. Section 364, however, “imposes no duty to seek credit from every

possible lender before concluding that such credit is unavailable.” Bray v. Shenandoah Fed. Savs.

& Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986).

               38.     The DIP Financing satisfies all three prongs. First, as stated above, the

Debtors contacted seven third-party lenders, in addition to PBIH, to seek proposals for postpetition

financing. No parties except PBIH submitted proposals. The Court should, therefore, authorize

the Debtors to provide PBIH with superpriority administrative expense status for any DIP

Obligations as provided for in section 364(c)(1) of the Bankruptcy Code, in each case, in

accordance with the DIP Note and Orders.

               39.     Second, the DIP Financing is necessary to preserve the Debtors’ estates.

The Debtors require access to the DIP Financing to ensure they have sufficient liquidity to operate

their businesses and administer their estates in the ordinary course during the wind-down and

duration of the Chapter 11 Cases. The Debtors’ operating cash flow may not be sufficient to fund

ongoing operations and expenses for the projected duration of the Chapter 11 Cases, including

costs associated with the Chapter 11 Cases. Without sufficient cash to fund the Chapter 11 Cases




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and administrative costs (including ordinary course operating expenses), the Debtors risk

diminishing value of their assets at a time when preservation of such value is critical.

               40.       Third, the terms of the DIP Financing are fair, reasonable, and adequate

under the circumstances. As stated in the Lansio Declaration, Chiu Declaration, and this Motion,

the DIP Financing represents the most favorable source of financing and is designed to provide

the Debtors with sufficient liquidity for the duration of the Chapter 11 Cases through the wind-

down period.

D.     Debtors Should Be Authorized to Pay Interest and Other Amounts Required by DIP
       Documents

               41.       DIP Loans will accrue interest at 10% per annum monthly, which will be

payable in kind. In addition, in connection with the DIP Financing, the Debtors have agreed to

pay the following amounts to the DIP Lender:

                        Upfront Fee: on the date of the Initial Draw, Borrower shall pay in cash to
                         DIP Lender an upfront fee equal to 2.00% of the DIP Commitment, which
                         shall be fully earned upon entry of the Interim Order and payable in kind;
                         and

                        Undrawn Commitment Fee: on the last business day of each month, a fee
                         equal to 1.00% of the unused DIP Commitment during the preceding month,
                         shall accrue and payable in kind.

               42.       Under the DIP Documents, the Debtors are also required to pay all fees,

premiums and expenses under the DIP Financing on the Closing Date (as defined in the DIP Note),

including the reasonable and documented out-of-pocket fees and expenses of counsel to the DIP

Lender.

               43.       As set forth in the Lansio Declaration, the Debtors submit that the interest

rate, Upfront Fee, and the Undrawn Commitment Fee, and the other amounts payable to the DIP

Lender in connection with the DIP Financing, in the aggregate, are fair and reasonable under the

circumstances of the Chapter 11 Cases, particularly in light of the benefits received by the Debtors’


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estates through the proposed DIP Financing. Accordingly, the Debtors should be authorized to

pay such amounts.

E.     Debtors Should Be Permitted to Use Cash Collateral

               44.     For the reasons set forth herein, the Debtors require use of Cash Collateral

for the continued operation of the Debtors’ businesses during the wind-down period and smooth

entry into the Chapter 11 Cases. Section 363(c) of the Bankruptcy Code governs a debtor’s use of

a secured creditor’s cash collateral. Section 363(c) provides, in pertinent part, that:

               The trustee may not use, sell, or lease cash collateral . . . unless—
               (A) each entity that has an interest in such cash collateral consents;
               or
               (B) the court, after notice and a hearing, authorizes such use, sale,
               or lease in accordance with the provisions of this section [363].

11 U.S.C. § 363(c)(2). Furthermore, section 363(e) provides that “on request of an entity that has

an interest in property . . . proposed to be used, sold, or leased, by the trustee, the court, with or

without a hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide

adequate protection of such interest.” 11 U.S.C. § 363(e)

               45.     The Debtors have satisfied the requirements of sections 363(c)(2) and (e),

and should be authorized to use Cash Collateral. Oaktree has consented to such use and waived

any requirement for the Debtors to provide adequate protection. Accordingly, the Court should

grant the Debtors the authority to use Cash Collateral under section 363(c) of the Bankruptcy Code.

F.     Carve-Out Is Appropriate

               46.     The DIP Financing subjects the DIP Lender’s security interests,

superpriority administrative expense claims, and the adequate protection claims and liens to the

Carve-Out (as defined in the Interim Order). Without the Carve-Out, the Debtors’ estates or other

parties in interest could be harmed because the services professionals might otherwise provide in



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the Chapter 11 Cases could be restricted. See In re Ames Dep’t Stores, 115 B.R. at 38 (observing

that courts insist on Carve-Outs for professionals representing parties in interest because “[a]bsent

such protection, the collective rights and expectations of all parties in interest are sorely

prejudiced”). Additionally, the Carve-Out protects against administrative insolvency during the

pendency of the Chapter 11 Cases by ensuring that assets are available to pay U.S. Trustee fees

and professional fees of the Debtors and any statutory committee. Accordingly, the Debtors

submit that the Carve-Out is reasonable and appropriate under the circumstances.

G.     DIP Lender Should Be Deemed Good Faith Lender under Section 364(e)

               47.     Section 364(e) of the Bankruptcy Code protects a good faith lender’s right

to collect on loans extended to a debtor, and its rights with respect to liens securing those loans,

even if the authority of the debtor to obtain such loans or grant such liens is later reversed or

modified on appeal. Section 364(e) provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt,
               or of a grant under this section of a priority or a lien, does not affect
               the validity of any debt so incurred, or any priority or lien so granted,
               to an entity that extended such credit in good faith, whether or not
               such entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting of such
               priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

               48.     As explained herein and in the Lansio Declaration, DIP Financing

negotiations were conducted in good faith and at arm’s length. The proceeds of the DIP Loans

will be used only for purposes that are permissible under the Bankruptcy Code. Accordingly, the

Court should find that the DIP Lender is a “good faith” lender within the meaning of section 364(e)

of the Bankruptcy Code, and therefore entitled to all of the protections afforded by that section.




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H.     Modification of Automatic Stay Is Warranted

               49.     The relief requested herein contemplates a modification of the Automatic

Stay (if applicable) to (i) permit the Debtors to grant the security interests, liens, and superpriority

claims described above and to perform such acts as may be requested to assure the perfection and

priority of such security interests and liens, and (ii) permit the DIP Lender to exercise rights and

remedies under certain circumstances. These provisions were part of the quid pro quo for the

Debtors’ ability to obtain the DIP Financing as provided in the DIP Note and in the Interim Order.

Notably, the exercise of remedies (including remedies with respect to prepetition claims and

collateral) will be subject to five business days’ notice to allow the Debtors to contest whether a

default has occurred and is occurring. Moreover, following the delivery of such notice, but prior

to exercising certain remedies, the DIP Lender is required to file a motion seeking an emergency

hearing for relief from the Automatic Stay (the “Stay Relief Hearing”).               Until the Court

adjudicates the DIP Lender’s stay relief motion, the Debtors may use the proceeds of the DIP

Financing (to the extent drawn prior to the occurrence of the Event of Default (as defined in the

DIP Note)) in accordance with the DIP Note and Approved Budget. Under these circumstances,

the Debtors believe that the extent of the modifications to the Automatic Stay under the Interim

Order are reasonable and should be approved.

               50.     Stay modifications of this kind are ordinary and standard features of debtor-

in-possession financing arrangements and, in the Debtors’ business judgment, are reasonable and

fair under the circumstances of the Chapter 11 Cases. See, e.g., In re Sheridan Holding Company

II, LLC, No. 19-35198 (MI) (Bankr. S.D. Tex. October 21, 2019) (Docket No. 178) (modifying

automatic stay as necessary to effectuate the terms of the order); In re Vanguard Natural

Resources, Inc., No. 19-31786 (DRJ) (Bankr. S.D. Tex. April 3, 2019) (Docket No. 118) (same);

In re Southcross Holdings LP, No. 16-20111 (MI) (Bankr. S.D. Tex. Apr. 11, 2016) (Docket No.


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183) (same); In re Autoseis, Inc., No. 14-20130 (RSS) (Bankr. S.D. Tex. Mar. 27, 2014) (Docket

No. 64) (same); In re ATP Oil & Gas Corp., No. 12-36187 (MI) (Bankr. S.D. Tex. Aug. 21, 2012)

(Docket No. 135) (same).

I.     Debtors Require Immediate Access to DIP Financing

               51.     The Court may grant interim relief in respect of a motion filed pursuant to

section 363(c) or 364 of the Bankruptcy Code if, as here, interim relief is “necessary to avoid

immediate and irreparable harm to the estate pending a final hearing.”                      Fed. R.

Bankr. P. 4001(b)(2), (c)(2). In examining requests for interim relief under this rule, courts

generally apply the same business judgment standard applicable to other business decisions. See

In re Ames Dep’t Stores, 115 B.R. at 36.

               52.     The Debtors and their estates will suffer immediate and irreparable harm if

the interim relief requested herein is not granted promptly. The Debtors have an immediate need

for access to the DIP Financing, to preserve the value Debtors’ estates and provide assurances to

employees, vendors, and other stakeholders that the Debtors have the financial wherewithal to

continue operating during the pendency of the Chapter 11 Cases. Accordingly, for the reasons set

forth above, prompt entry of the Interim Order is necessary to avoid value-destruction that would

lead to immediate and irreparable harm to the Debtors’ estates.

J.     Request for Final Hearing

               53.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors

request that the Court set a date for consideration of entry of the Final Order. The Debtors request

that they be authorized to serve a copy of the signed Interim Order, which fixes the time and date

for the filing of any objections by first class mail upon the notice parties listed below. The Debtors

further request that the Court consider such notice of the Final Hearing to be sufficient notice under

Bankruptcy Rule 4001(c)(2).


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                        Debtors Have Satisfied Bankruptcy Rule 6003(b)

                54.     Pursuant to Bankruptcy Local Rule 9013-1, the Debtors respectfully request

emergency consideration of this Motion under Bankruptcy Rule 6003, which provides that the

Court may grant relief within the first 21 days after the Petition Date to the extent such relief is

necessary to avoid immediate and irreparable harm. As described herein and in the Lansio

Declaration, the relief requested is essential to avoid the immediate and irreparable harm that

would be caused by the Debtors’ inability to transition smoothly into chapter 11. Accordingly, the

Debtors submit that the requirements of Bankruptcy Rule 6003 are satisfied.

                                Debtors’ Compliance with
              Bankruptcy Rule 6004(a) and Waiver of Bankruptcy Rule 6004(h)

                55.     To implement the foregoing successfully, the Debtors request that the Court

find that notice of the Motion is adequate under Bankruptcy Rule 6004(a), and waive the 14-day

stay of an order authorizing the use, sale, or lease of property under Bankruptcy Rule 6004(h). As

explained above, the relief requested herein is necessary to avoid immediate and irreparable harm

to the Debtors. Accordingly, ample cause exists to justify finding that the notice requirements

under Bankruptcy Rule 6004(a) have been satisfied and to grant a waiver of the 14-day stay

imposed by Bankruptcy Rule 6004(h), to the extent such notice requirements and such stay apply.

                                       Reservation of Rights

                56.     Nothing contained herein is intended to be or shall be deemed as (i) an

admission as to the validity of any claim against the Debtors, (ii) a waiver or limitation of the

Debtors’ or any party in interest’s rights to dispute the amount of, basis for, or validity of any

claim, (iii) a waiver or limitation of the Debtors’ or any other party in interest’s rights under the

Bankruptcy Code or any other applicable nonbankruptcy law, (iv) a waiver of the obligation of

any party in interest to file a proof of claim, (v) an agreement or obligation to pay any claims, (vi) a



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waiver of any claims or causes of action that may exist against any creditor or interest holder, or

(vii) an approval, assumption, adoption, or rejection of any executory contract or unexpired lease

under section 365 of the Bankruptcy Code. The Debtors expressly reserve all of their rights with

respect to the foregoing matters. Likewise, if the Court grants the relief sought herein, any

payment made pursuant to the Court’s order is not intended to be and should not be construed as

an admission to the validity of any claim or a waiver of the Debtors’ or any other party in interest’s

rights to dispute such claim subsequently.

                                               Notice

               57.     Notice of this Motion will be served on any party entitled to notice pursuant

to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local Rule

9013-1(d).

                                       No Previous Request

               58.     No previous request for the relief sought herein has been made by the

Debtors to this or any other court.




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               WHEREFORE the Debtors respectfully request entry of the Orders granting the

relief requested herein and such other and further relief as the Court may deem just and appropriate.

Dated: August 9, 2024
       Houston, Texas



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                                              Proposed Attorneys for Debtors
                                              and Debtors in Possession
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                                    Certificate of Service

I hereby certify that on August 9, 2024, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                    /s/ Gabriel A. Morgan
                                                    Gabriel A. Morgan
